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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 WISCONSIN VOTERS ALLIANCE, et al.,

        PLAINTIFFS,

 V.
                                                  CIVIL ACTION NO.: 20-3791 (JEB)
 VICE PRESIDENT MICHAEL R. PENCE,
 et al.,

        DEFENDANTS.



                    NOTICE OF ENTRY OF APPEARANCE OF COUNSEL

       To the Clerk of Court: Pursuant to LCvR 83.6(a), please enter the appearance of Channing

L. Shor, Esq. (#1024861) of ECCLESTON & WOLF, PC as additional counsel for Non-Party

Respondents Erick G. Kaardal, Esq. and Mohrman, Kaardal & Erickson, P.A. in defense of this

Court’s January 7, 2021, Show Cause Order in the above-captioned matter. Justin M. Flint, Esq.

(#491782) of ECCLESTON & WOLF, PC remains lead counsel for Non-Party Respondents Erick G.

Kaardal, Esq. and Mohrman, Kaardal & Erickson, P.A. in the above-captioned matter.

                                                Respectfully submitted,

                                                ECCLESTON & WOLF, P.C.

                                                /s/ Channing L. Shor
                                                Justin M. Flint (#491782)
                                                Channing L. Shor (#1024861)
                                                1629 K Street, N.W., Suite 260
                                                Washington, D.C. 20006
                                                (202) 857-1696 (Tel)
                                                (202) 857-0762 (Fax)
                                                flint@ewdc.com
                                                shor@ewdc.com
                                                Counsel for Erick G. Kaardal, Esq. and
                                                Mohrman, Kaardal & Erickson, P.A.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of January 2021 a copy of the foregoing Notice of

Entry of Appearance of Counsel was served to all Counsel of Record by this Court’s electronic

filing system.



                                                  /s/ Channing L. Shor
                                                  Channing L. Shor (#1024861)




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